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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION


THOMAS ALLEN PELHAM,

                          Petitioner,

vs.                                      Case No.       2:05-cv-41-FtM-29SPC

UNITED STATES OF AMERICA,

                    Respondent.
___________________________________


                              OPINION AND ORDER

      On January 31, 2005, Petitioner filed a Motion to Vacate, Set

Aside, or Correct Sentence Pursuant to 28 U.S.C. § 2255 (Doc. #1),

raising two issues of ineffective assistance of counsel.                  After

determining that an evidentiary hearing was necessary, the Court

referred the matter to the assigned magistrate judge for such a

hearing and a report and recommendation.          (Doc. #10.)       Counsel was

appointed   for     petitioner   (Doc.   #15),    and    in   due    course   an

evidentiary hearing was conducted (Doc. #31).             This matter is now

before the Court on a Report and Recommendation (Doc. #32) filed on

May   16,   2006,    by    Magistrate    Jude    Sheri    Polster      Chappell

recommending   that    the    petition   be   denied.      Petitioner     filed

Objections (Doc. #33) on May 25, 2006.

      After conducting a careful and complete review of the findings

and recommendations, a district judge may accept, reject or modify

the magistrate judge’s report and recommendation.                   28 U.S.C. §

636(b()1); Williams v. Wainwright, 681 F.2d 732, 732 (11th Cir.
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1982), cert. denied, 459 U.S. 1112 (1983).              A district judge “shall

make a de novo determination of those portions of the report or

specified proposed findings or recommendations to which objection

is made.”     28 U.S.C. § 636(b)(1)(C).              This requires that the

district judge “give fresh consideration to those issues to which

specific objection has been made by a party.”              Jeffrey S. by Ernest

S. v. State Bd. of Educ. of Ga., 896 F.2d 507, 512 (11th Cir.

1990)(quoting H. Rep. No. 94-1609, at 3 (1976), as reprinted in

1976 U.S.C.C.A.N. 6162-63).           The district judge reviews legal

conclusions de novo, even in the absence of an objection.                      See

Cooper-Houston v. Southern Ry. Co., 37 F.3d 603, 604 (11th Cir.

1994).

      The Report and Recommendation accurately sets forth the facts

of the case and the legal standards.            The Report and Recommendation

finds that trial counsel was not ineffective in connection with the

two level firearm enhancement.            Petitioner makes no objection to

this conclusion, and after independent review the Court agrees with

the   findings   and        conclusions    in    connection    with    counsel’s

performance concerning the firearm enhancement.                 No ineffective

assistance of counsel has been shown as to this matter.

      The   Report    and    Recommendation      also    concludes    that   trial

counsel was not ineffective in failing to file a notice of appeal.

Petitioner has objected to this conclusion, but the Court overrules

the objection.       It is undisputed that petitioner did not instruct

counsel to file a notice of appeal.               The Court agrees with the
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Report and Recommendation that under the facts of this case counsel

was not required by the Supreme Court or Eleventh Circuit authority

to consult with petitioner after sentencing to confirm the decision

not to appeal.     The Court also agrees that its statement at the

conclusion of sentencing did not create an obligation above and

beyond that set forth in Roe v. Flores-Ortega, 528 U.S. 479 (2000).

The Court finds no ineffective assistance of counsel.

     Accordingly, it is now

     ORDERED:

     1. The Court accepts and adopts the Report and Recommendation

(Doc. #32) and Petitioner’s Motion to Vacate, Set Aside, or Correct

Sentence Pursuant to 28 U.S.C. § 2255 (Doc. #1) is DENIED.

     2.     The   Clerk   shall   enter   judgment   in   the    civil   case

accordingly and close the civil file.             The Clerk is further

directed to file a certified copy of the civil judgment in the

associated criminal case file.

     DONE AND ORDERED at Fort Myers, Florida, this              9th   day of

October, 2006.




Copies:
Hon. Sheri Polster Chappell
U.S. Magistrate Judge

Counsel of record
Petitioner

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